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5                   IN THE UNITED STATES DISTRICT COURT FOR THE

6                             EASTERN DISTRICT OF CALIFORNIA

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     UNITED STATES OF AMERICA,             ) CR.F. 04-5086 AWI
10                                         )
                   Plaintiff,              )
11                                         ) ORDER STAYING RELEASE ORDER OF THE
                      v.                   ) MAGISTRATE JUDGE PENDING HEARING
12                                         ) ON THE GOVERNMENT'S MOTION FOR
     NAFIZ ABDULLA MUSLEH,                 ) REVOCATION HEARING
13                                         )
                                           )
14                 Defendant.              )
                                           )
15
              Upon application of the United States Government for stay of
16
     the order of          U.S. Magistrate Judge Dennis L. Beck setting
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     conditions of release for the above-named defendant, and good
18
     cause appearing,
19
              IT IS HEREBY ORDERED THAT the Magistrate Judge's order
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21   setting conditions for release of the above-named defendant, be

22   stayed pending the disposition of the government's motion to

23   revoke the release order issued by the U.S. Magistrate Judge.

24            The date for the hearing on the government’s revocation

25   motion shall be set in a separate order.

26   IT IS SO ORDERED.
27
     Dated:     August 24, 2005                  /s/ Anthony W. Ishii
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                                             1
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1    0m8i78                              UNITED STATES DISTRICT JUDGE
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